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On Tue, May 15, 2018, 16:54 Dory Turnipseed <dturnips333@gmail.com> wrote:
My letter was not purchased off the internet. I advised that I found his contact information
through the internet. He is more than happy to speak with you. And I have a legitimate diagnosis.
My psychiatrist only stated that he did not prescribe ESAs.




On Tue, May 15, 2018 at 6:19 PM, Dory Turnipseed <dturnips333@gmail.com> wrote:

I am bringing Sasha back to my parents house as I cannot afford any of your fines financially or
emotionally. I am speaking to an animal lawyer and will respond when I have more information
on my rights.
